                          UNITED STATES BANKRUPTCY COURT

                              SOUTHERN DISTRICT OF TEXAS

                                      HOUSTON DIVISION

In re                                                Chapter 11

Refreshing USA, LLC,                                 Case No. 24-33919

                       Debtor.


 SUPPLEMENTAL DISCLOSURE REGARDING LIST OF CREDITORS WHO HAVE
               THE 20 LARGEST UNSECURED CLAIMS

        Debtor Refreshing USA, LLC (“Debtor) hereby files its Official Form 204: List of

Creditors Who Have the 20 Largest Unsecured Claims and are not Insiders. The current version

of the list reflects the Debtor’s preliminary determination of its largest 20 unsecured creditors and

primarily consists of trade debt. Debtor acknowledges, however, that there are a significant number

of litigation claims from investors and vending machine purchasers that may relate to the Debtor.

Although these claims are larger in value, it is currently unclear whether they are secured or

unsecured and whether they are properly asserted against the Debtor or should be limited to the

Debtor’s affiliates.

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        Debtor is in the process of evaluating all potential claims and reserves the right to amend

this list as necessary.


        Dated: October 24, 2024.

                                             Respectfully submitted,

                                             TONKON TORP LLP

                                             By /s/ Danny Newman
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                                                Attorneys for Debtors
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   Fill in this information to identify the case:

   Debtor name

   United States Bankruptcy Court for the: Southern               District of Texas

   Case number (If known):
                                                                            (State)
                                                                                                                                        Check if this is an
                                                                                                                                            amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
 Unsecured Claims and Are Not Insiders                                                                                                                  12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
 largest unsecured claims.


  Name of creditor and complete             Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
  mailing address, including zip code       email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated, total claim amount and deduction for value of
                                                                          services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if Deduction       Unsecured
                                                                                                                partially       value of        claim
                                                                                                                secured         collateral or
                                                                                                                                setoff
  McCarter and English
                                                                              Professional
1 265 Franklin St.                                                              Services                                                          $193,162.45
  Boston, MA 2110
  Dottir Attorneys
                                                                              Professional
2 584 Castro St. #2242                                                          Services                                                          $119,055.00
  San Francisco, CA 94114
  Brink's Incorporated
3 POB 101031                                                                  Trade Debt                                                           $93,550.76
  Atlanta, GA 30392-1031

  Colonial Life Insurance
4 POB 1365                                                                     Insurance                                                           $47,248.07
  Columbia, SC 29202

  Herald Holdings LLC
5 1604 Hewitt Ave., Ste 200                                                                                                                        $36,069.88
  Everett, WA 98201
  Vendors Exchange International
6 8700 Brookpark Road                                                         Trade Debt                                                           $35,047.97
  Cleveland, OH 44129
  Miami-Dade Cty. DOT & Public
  Works
7 Attn: Accounts Payables Div.                                                                                                                     $32,783.49
  701 NW 1st Court, Ste. 1700
  OptConnect
8 865 W. 450 N., Ste. #1                                                      Trade Debt                                                           $23,840.00
  Kaysville, UT 84037




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           Refreshing                                                                                                    Case number
 Debtor    USA, LLC
                                                                                                                               24-33919




   Name of creditor and complete         Name, telephone number, and   Nature of the claim Indicate if                 Amount of unsecured claim
  mailing address, including zip code      email address of creditor   (for example, trade    claim is   If the claim is fully unsecured, fill in only unsecured
                                                    contact             debts, bank loans,  contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional    unliquidated,     total claim amount and deduction for value of
                                                                          services, and     or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                            contracts)
                                                                                                             Total claim, if          Deduction     Unsecured
                                                                                                               partially             for value of     claim
                                                                                                               secured                collateral
                                                                                                                                       or setoff

  Landstar Global Logistics
9 POB 784302                                                              Trade Debt                                                                $15,889.30
  Philadelphia, PA 19178-4302
  Vanguard Development Co.
10 11600 Broadway Ext., Ste. 250                                          Trade Debt                                                                $14,734.00
  Oklahoma City, OK 73114
   Concur Technologies, Inc.
11 62157 Collections Center Dr.                                           Trade Debt                                                                $10,291.00
   Chicago, IL 60693
   Tech 2 Success LLC
12 78-43 78th St.                                                         Trade Debt                                                                $8,375.00
   Glendale, NY 11385
   Evoca North America Venture
   Inc.
13 2355 Dalton Ave.                                                       Trade Debt                                                                $8,048.00
   Quebec QC G1P 3S3
   CANADA
   Oracle Netsuite
   Attn: Tyler Baker
14 c/o WFEF Collections CE                                                Trade Debt                                                                $7,898.45
   800 Walnut Street
   Des Moines, IA 50309
   Mathand, Inc.
   103 Smoke Hill Lane
15 Ste. 130                                                               Trade Debt                                                                $7,785.14
   Marietta, GA 30066
   Direct Drive Logistics
16 11122 W. Rogers St.                                                    Trade Debt                                                                $7,400.00
   Milwaukee, WI 53227
  Swire Coca-Cola
17 POB 3743                                                               Trade Debt                                                                $5,989.98
  Seattle, WA 98124-3743
   Lighthouse Transportation Svcs.
   LLC
18 POB 631416                                                             Trade Debt                                                                $5,500.00
   Cincinnati, OH 45263-1416

   Lee Cty. Port Authority
19 11000 Terminal Access Rd.                                                                                                                        $5,205.43
   Fort Myers, FL 33913




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    Gilly Vending
 20 990 NW 166th St.                                                   Trade Debt                                                 $3,921.50
    Miami, FL 33169




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